                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                             3:15-CR-00170-RJC-DSC
 USA,                                           )
                                                )
                Plaintiff,                      )
                                                )
    v.                                          )          ORDER
                                                )
 JAMES ANTONIO LANGSTON,                        )
                                                )
                Defendant.                      )
                                                )

         THIS MATTER is before the Court upon the Government’s Motion to Dismiss, (Doc.

No. 65), of the Indictment, (Doc. No. 30), as to James Antonio Langston, without prejudice,

following his plea to an Information in Case No. 3:15-cr-271.

         IT IS, THEREFORE, ORDERED that the Government’s motion, (Doc. No. 65), is

GRANTED and the Indictment, (Doc. No. 30), is DISMISSED as to James Antonio Langston,

without prejudice.



                                            Signed: November 30, 2015




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